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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                               Case No. 20-20259-RAM
                                                     (Jointly Administered)
It’Sugar FL I LLC, et al.,
                                                     Chapter 11
      Debtors.
_______________________________/

                      NOTICE OF FILING SUMMARY NOTICE OF
                  FINAL FEE APPLICATIONS AND HEARING THEREON

         It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC

(collectively, the “Debtors”), by and through undersigned counsel, give notice of estate

professionals’ final fee applications by the filing of this Summary Notice of Fee Applications

and Hearing Thereon in accordance with the Order (I) Conditionally Approving The Disclosure

Statement; (II) Approving The Ballot; (III) Setting A Date For A Consolidated Hearing On (A)

Final Approval Of The Disclosure Statement And (B) Confirmation Of The Plan Of Reorganization;

(IV) Establishing And Consolidating The Deadlines To File (A) Objections To The Disclosure

Statement And (B) Objections To Confirmation Of The Plan Of Reorganization; (V) Approving The

Procedures For Solicitation And Tabulation Of Votes On The Plan; (VI)               Setting Various

Deadlines; And (VII) Describing The Plan Proponents’ Obligations [ECF No. 317] as follows:

                                  Date, Time and Hearing Location
                                     June 11, 2021 @ 10:00 a.m.
                                            LOCATION:
                     Video conference via Zoom Video Communications, Inc.
  To participate in the Consolidated Hearing, you must register in advance no later than 3:00 p.m.
 one business date before the date of the Consolidated Hearing. To register, click on the following
                        link or manually enter the following link in a browser:
    https://www.zoomgov.com/meeting/register/vJIsceyuqT4tE-yVagBR9KvKjNeqpKnWfbQ
    For instructions regarding the video conference, please refer to the General Procedures for
        Hearings by Video Conference on Judge Mark’s web page on the Court’s website,
                           https://www.flsb.uscourts.gov/judges/judge-robert-mark

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Name of           Role        Type         ECF#          Entire Case          Entire Case
Applicant                                                Fees                 Expenses
Meland            Debtors’    Final        355           $1,115,486.10        $32,447.84
Budwick, P.A.     Counsel                                (not including
                                                         Supplement)
Meland            Debtors’    Supplement [To be          TBD                  TBD
Budwick, P.A.     Counsel     to Final     filed prior
                                           to
                              [To be filed 6/11/2021]
                              prior to
                              6/11/2021]
The Law Firm      Debtors’    Final        353           $67,165.00           $0.00
of Ricki S.       Special                                (not including
Friedman          Counsel                                Supplement)
PLLC
The Law Firm      Debtors’    Supplement [To be          TBD                  TBD
of Ricki S.       Special     to Final     filed prior
Friedman          Counsel                  to
PLLC                          [To be filed 6/11/2021]
                              prior to
                              6/11/2021]
Kopelowitz        Debtors’    Final        352           $22,875.00           $364.51
Ostrow P.A.       Special                                (not including
                  Counsel                                Supplement)
Kopelowitz        Debtors’    Supplement [To be          TBD                  TBD
Ostrow P.A.       Special     to Final     filed prior
                  Counsel                  to
                              [To be filed 6/11/2021]
                              prior to
                              6/11/2021]
Algon Capital,    Debtors’    Final        354           $875,118.28          $0.00
LLC d/b/a         CRO                                    (not including
Algon Group                                              Supplement)
Algon Capital,    Debtors’    Supplement [To be          TBD                  TBD
LLC d/b/a         CRO         to Final     filed prior
Algon Group                                to
                              [To be filed 6/11/2021]
                              prior to
                              6/11/2021]
Daszkal Bolton, Debtors’      Final        356           $50,389.25           $0.00
LLP             Tax                                      (not including
                Accountants                              Supplement)
Daszkal Bolton, Debtors’      Supplement [To be          TBD                  TBD
LLP             Tax           to Final     filed prior
                Accountants                to
                              [To be filed 6/11/2021]
                              prior to
                              6/11/2021]

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Name of            Role        Type         ECF#            Entire Case           Entire Case
Applicant                                                   Fees                  Expenses
Fox Rothschild     Committee   Final        369             $46,948.00            $1,814.62
LLP                Counsel                                  (not including
                                                            Supplement)
Fox Rothschild     Committee   Supplement [To be            TBD                   TBD
LLP                Counsel     to Final     filed prior
                                            to
                               [To be filed 6/11/2021]
                               prior to
                               6/11/2021]
Pachulski Stang    Committee   Final        370             $315,265.00           $900.38
Ziehl & Jones      Counsel                                  (not including
LLP                                                         Supplement)
Pachulski Stang    Committee   Supplement [To be            TBD                   TBD
Ziehl & Jones      Counsel     to Final     filed prior
LLP                                         to
                               [To be filed 6/11/2021]
                               prior to
                               6/11/2021]


       Dated: May 27, 2021.

                                                       s/ Meaghan E. Murphy
                                                      Meaghan E. Murphy, Esquire
                                                      Florida Bar No. 102770
                                                      mmurphy@melandbudwick.com
                                                      MELAND BUDWICK, P.A.
                                                      3200 Southeast Financial Center
                                                      200 South Biscayne Boulevard
                                                      Miami, Florida 33131
                                                      Telephone: (305) 358-6363
                                                      Telecopy: (305) 358-1221

                                                      Attorneys for Debtor-in-Possession




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